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                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                     Plaintiff,           )
                                          )
      vs.                                 )                      Case No. 10-40114-01-RDR
                                          )
JUAN ROMAN,                               )
                         Defendant.       )
__________________________________________)


                    ORDER ALLOWING WITHDRAWAL OF COUNSEL


        IT IS HEREBY ORDERED that Thomas W. Bartee, Assistant Federal Public Defender,

is allowed to withdraw his appearance as counsel for Juan Roman.

        IT IS FURTHER ORDERED that the Clerk’s Office shall remove Mr. Bartee’s name from

electronic notification list related to this case after the filing of this Order.

        IT IS SO ORDERED.

        Dated this 1st day of December, 2010.




                                                 _s/ Richard D. Rogers______________
                                                 HONORABLE RICHARD D. ROGERS
                                                 United States District Judge
